Exhibit B
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(12)   United States Patent                                                                       (10) Patent No.:                                   US 8,374,954 B1
       Cohan                                                                                      (45) Date of Patent:                                       *Feb. 12, 2013
(54)    PRIVATE CAPITAL MANAGEMENT SYSTEM                                                             7,698,188 B2                     4/2010 Hollas et al.
        AND METHOD                                                                                    7,774,247 B2                     8/2010 Hausman et al.
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(75) Inventor: James Anthony Cohan, Tiburon, CA                                                       8,046,295 B1 * 10/2011 Cohan ............................. 705/37
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                                                                                                2002/01 11896 A1                       8/2002 Ben-Levy et al.
(73) Assignee: AllRounds, Inc., Tiburon, CA (US)                                                2003/0028467             A1            2/2003    Sanborn
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(*) Notice: Subject to any disclaimer, the term of this                                         2007/010.07 24           A1            5/2007    Hollas et al.
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(21) Appl. No.: 13/280,181                                                                     "Round 1 Introduction & Product Overview'. Round 1, Inc., 2001, 32
                                                                                               pageS.
(22) Filed:           Oct. 24, 2011                                                            “Round 1 Unveils Vision, Product for Private Capital Markets at
                                                                                               DEMO 2001'. Feb. 12, 2001, http://www2.prnewswire.com/cgi-bin/
            Related U.S. Application Data                                                      stories.pl?ACCT=104&STORY=/www/story/02-12-2001/
(63) Continuation of application No. 12/036,160, filed on                                      0001425192&EDATE=, 2 pages.
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        Feb. 22, 2008, now Pat. No. 8,046,295.                                                 tal Market”, Feb. 12, 2001, http://www.thefreelibrary.com/
(60) Provisional application No. 60/964,341, filed on Aug.                                     Round 1+Launches+Family--of-Products+and+Services+for+
        10, 2007.                                                                              Private+Capital...-a070354507, 4 pages.

(51)    Int. C.                                                                                * cited by examiner
        G06O40/00                   (2006.01)                                                  Primary Examiner — Thu Thao Havan
(52) U.S. Cl. ............................................ 705/37; 705/38                      (74) Attorney, Agent, or Firm — Foley & Lardner LLP
(58) Field of Classification Search ............... 705/35. 40
     See application file for complete search history.                                         (57)                                     ABSTRACT
(56)                     References Cited                                                      A computer-implemented data processing system comprises
                                                                                               capital management logic accessible to a plurality of users by
                 U.S. PATENT DOCUMENTS                                                         way of a communication network. The plurality of users
       6,014,643 A      1/2000 Minton                                                          include companies, institutional investors, individual inves
       6,161,099 A       12/2000 Harrington et al.                                             tors, and exchanges. The capital management logic is config
       7,146,335 B2      12/2006 Rose                                                          ured to facilitate pre-financing and post-financing interac
       7,242,669 B2       7/2007 Bundy et al.                                                  tions between the companies, the institutional investors, the
       7.447,654 B2      11/2008 Ben-Levy et al.                                               individual investors, and the exchanges throughout one or
       7,475,046 B1       1/2009 Foley et al.
       7,676,455 B2       3/2010 Ursitti et al.                                                more rounds of financing of the companies.
       7,685,048 B1       3/2010 Hausman et al.
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                                                                                                                               Top Level
                                                                                                                              Application

                                               2812 2814
                                        DealFlow                            Capitalization            Contact             Scheduling
                                       Management                                                  Management




                                                           Capitalization          Security


                                                                                  lssuance


                                                                                Transactions            Accreditation


                                                                                 Fundraising


                                                                                 Liquidation
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    PRIVATE CAPITAL MANAGEMENT SYSTEM                                       FIG. 2A is a schematic diagram showing PCMS logic of
                AND METHOD                                               FIG. 1 in greater detail according to an example embodiment,
                                                                         and FIGS. 2B-2C are screen displays showing tools provided
      CROSS-REFERENCE TO RELATED PATENT                                  by the PCMS logic according to an example embodiment.
                APPLICATIONS                                                FIGS. 3A-3C are a screen display provided in connection
                                                                         with a pipeline tab according to an example embodiment.
   The present application is a continuation of U.S. applica                FIGS. 4A-4B are a screen display provided in connection
tion Ser. No. 12/036,160, entitled “Private Capital Manage               with an ownership tab according to an example embodiment.
ment System and Method.” filed Feb. 22, 2008, hereby incor                  FIG. 5 is a screen display provided in connection with a
porated by reference in its entirety, which claims priority to      10
                                                                         portfolio tab according to an example embodiment.
U.S. Provisional Application No. 60/964,341, entitled “Pri                  FIGS. 6A-6D are a screen display provided in connection
vate Capital Management System.” filed Aug. 10, 2007,                    with a funds tab according to an example embodiment.
hereby incorporated by reference in its entirety.                           FIGS. 7A-7D are a screen display provided in connection
                                                                         with an investors tab according to an example embodiment.
          BACKGROUND OF THE INVENTION
                                                                    15
                                                                            FIGS. 8A-8B are a screen display provided in connection
                                                                         with a security tab according to an example embodiment.
   The present disclosure relates generally to the field of                 FIGS. 9A-9D are screen displays provided in connection
financial management systems. More particularly, this disclo             with a traunches tab according to an example embodiment.
Sure relates to a multi-faceted capital management system                   FIG. 10 is a screen display provided in connection with a
that facilitates interactions among investors, companies, and            transactions tab according to an example embodiment.
exchanges and/or other secondary Stakeholders in private                    FIGS. 11A-11C are a screen display provided in connec
capital markets.                                                         tion with a comparables tab according to an example embodi
   The public capital markets have been made efficient by                ment.
frictionless trading mechanisms, continuous valuation oppor                 FIGS. 12A-12B are a screen display provided in connec
tunities, and transparency of information that underpins the             tion with a debt tab according to an example embodiment.
value of publicly traded securities. In contrast, the private       25      FIG. 13 is a screen display provided in connection with a
capital markets lack a standard process for exchanging Secu              debt transactions tab according to an example embodiment.
rities, transparency of information, continuous valuation                   FIG. 14 is a screen display provided in connection with an
opportunities and a critical mass of investors valuing oppor             options tab according to an example embodiment.
tunities. For example, without a standard, efficient process for            FIGS. 15A-15B are a screen display provided in connec
exchanging securities, transactions occur relatively infre          30
                                                                         tion with an option transactions tab according to an example
quently. When Such transactions do occur, information about              embodiment.
Such transactions is not widely available, resulting in a lack of           FIG. 16 is a screen display provided in connection with a
transparency. These features of the private capital markets              derivative tab according to an example embodiment.
result in deadweight loss and uncaptured value. A private                   FIG. 17 is a screen display provided in connection with a
capital management system that facilitates interactions                  derivative transactions tab according to an example embodi
among investors, companies, and exchanges and/or other sec          35 ment.
ondary stakeholders in private capital markets would help                   FIG. 18 is a screen display provided in connection with a
eliminate Such deadweight loss and uncaptured value.                     capital transactions tab according to an example embodiment.
                                                                            FIG. 19 is a screen display provided in connection with a
            SUMMARY OF THE INVENTION                                     diligence tab according to an example embodiment.
                                                                    40      FIGS. 20A-20B are a screen display provided in connec
   According to an example embodiment, a computer-imple                  tion with a liquidation tab according to an example embodi
mented data processing system comprises capital manage                   ment.
ment logic accessible to a plurality of users by way of a                  FIG. 21 is a screen display provided in connection with an
communication network. The plurality of users include com                income transactions tab according to an example embodi
panies, institutional investors, individual investors, and          45 ment.
exchanges. The capital management logic is configured to                    FIG.22 is a screen display provided in connection with an
facilitate pre-financing and post-financing interactions                 activities tab according to an example embodiment.
between the companies, the institutional investors, the indi                FIG. 23 is a screen display provided in connection with a
vidual investors, and the exchanges throughout one or more               comments tab according to an example embodiment.
rounds of financing of the companies.                               50
                                                                            FIG. 24 is a screen display provided in connection with an
                                                                         activity dependencies tab according to an example embodi
   According to an example embodiment, a computer-imple                  ment.
mented data processing system comprises capital manage                      FIG. 25 is a screen display provided in connection with a
ment logic accessible to a plurality of users by way of a                projects tab according to an example embodiment.
communication network. The plurality of users include com                   FIG. 26 is a screen display provided in connection with a
panies and investors in the companies. The capital manage           55   portfolio Summary tab according to an example embodiment.
ment logic is configured to facilitate transactions between the             FIG. 27 is a screen display provided in connection with a
companies and the investors including issuance of securities             investor registrations tab according to an example embodi
by the companies. The securities including debt securities and           ment.
equity securities. The capital management logic is further                  FIGS. 28A-28B depict an alternative layout for the graphi
configured to facilitate transactions between the investors         60   cal user interface for the PCMS logic of FIG. 1 according to
including secondary market trading of the securities.                    an example embodiment.
       BRIEF DESCRIPTION OF THE DRAWINGS                                    DETAILED DESCRIPTION OF THE PREFERRED
                                                                                        EMBODIMENTS
  FIG. 1 is a schematic overview of a private capital man           65
agement in communication with various stakeholders system                  Referring to FIG. 1, a private capital management system
according an example embodiment.                                         100 according to an example embodiment is shown. The
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capital management system 100 facilitates interactions                   Such as high networth individuals, limited partnerships, and
among investors, companies, exchanges, and secondary                     so on. Individual investor application 204 may offer tools to
stakeholders in order to enable the exchange of data, commu              facilitate many of the same operations facilitated by the insti
nications, transactions, analysis, and so on.                            tutional investor application 202, or may instead offer a sub
   Thus, as shown in FIG. 1, system 100 is accessible by                 set of the tools sufficient to fulfill the typically streamlined
computers 112-118 associated with different ones of such                 needs of the individual investor. For example, whereas the
entities. Computers 112-118 may access system 100 by way                 institutional investor application may include partnership
of a network 120, such as the Internet.                                  accounting tools to perform accounting for funds managed by
   System 100 may be implemented on one or more host                     the institutional investor, an individual investor may not have
computers. System 100 includes network interface logic 122,         10   a need for Such tools.
data storage system 124, PCMS logic 126. Network interface                 The PCMS logic 126 may also comprise a company appli
logic provides a user interface for system 100 that is acces             cation 206 accessible to companies, i.e., entities in whom
sible by computers 112-118 through network 120, e.g., web                investments are made. The company application 202 may
pages that are accessible through the Internet. Data storage             provide tools to companies to facilitate operations such as
system 124 stores data regarding companies, investors, and so       15   exchange registration/accreditation (including the ability to
on. PCMS logic 126 comprises logic (e.g., stored program                 control access of confidential information and ensure investor
code executed by one or more computer processors) that                   accreditation and compliance), investor management (includ
provides underlying operations associated with system 100,               ing providing performance updates and facilitating investor
Such as permitting users to view, create, and edit data stored in        relations), ownership/capitalization management (including
data storage system 100 in accordance with respective user               facilitating dilution analysis based on future financing needs),
roles.                                                                   deal management (including syndication to multiple financ
   In an example embodiment, PCMS logic 126 provides                     ing Sources, due diligence management, allocation of indica
tools that facilitate the business workflow of companies,                tion of interests, and so on.
investors, and exchanges participating in the private equity                The PCMS logic 126 may also comprise an exchange
and debt markets. Such tools may facilitate the performance         25   application 208 accessible by one or more exchanges 116,
of tasks throughout the private capital life cycle. Such as deal         e.g., angel networks, brokers (e.g., brokers that bring together
Sourcing and relationship management, deal flow manage                   individual investors and institutional investors, brokers that
ment, project management (e.g., due diligence), ownership                bring together investors and companies, and so on), and so on.
management, managing capitalization tables (including pre                The exchange application 208 may provides tools to
ferred Stock, common Stock, employee Stock options, debt,           30   exchanges to facilitate operations such as registration and
convertible debt, and so on), portfolio analytics, marketana             accreditation of investors interested in investing in private
lytics, partnership accounting, investor and other stakeholder           securities, registration and accreditation of companies
relations, and so on. By way of example, system 100 is                   attempting to raise capital, investor relations management,
described in the context of private capital. As will be appre            comparables analysis, company relations management, Syn
ciated, system 100 may also be used in the context of other         35   dication, market analytics, deal flow management, and so on.
types of assets, such as real estate, oil & gas partnerships,               System 100 may further be accessed by secondary stake
public capital, and non-profit financing.                                holders 118 including agents of the primary stakeholders, e.g.
   Referring now also to FIGS. 2A-2B, the PCMS logic 126 is              bankers, accountants, attorneys, etc., who facilitate the pri
shown in greater detail. Referring first to FIG. 2A, the PCMS            mary stakeholders interactions. The secondary stakeholders
logic 126 may comprise different applications which are             40   118 may also include limited partners of the primary stake
accessible via the Internet by different types of stakeholders.          holders (e.g., where the investor entity is a limited partner
For example, the PCMS logic 126 may comprise an institu                  ship). Such secondary stakeholders may access the system
tional investor application 202 accessible to institutional              using one of the afore-mentioned applications 202-208.
investors, such as Venture capitalists, hedge funds, private             Although different applications 202-208 are provided, the
equity firms, other capital management firms, and so on. The        45   applications 202-208 are provided common access to data
investor application 202 may provide tools to investors to               storage system 124. Such that data collected by one applica
facilitate operations such as exchange registration/accredita            tion may be accessible to the remaining applications. Thus,
tion (e.g., permitting direct investors and limited partners to          for example, as described below, data regarding transactions
register and become accredited according to exchange rules),             may be more widely disseminated among various users of
deal flow management (e.g., permitting investors to view deal       50   system 100. As also described below, the data exchange
inventory and deal flow preferences), deal management (e.g.,             between applications 202-208 may facilitate project manage
to facilitate due diligence management, Submissions of indi              ment, e.g., such that various stakeholders may view tasks that
cations of interest, and so on), deal Syndication (e.g., permit          have been assigned to other types of stakeholders involved in
ting deals to be carved out amongst affiliate investors), valu           the same deal.
ation analysis (e.g., permitting valuation to be triangulated       55     Also shown in FIG. 2A are various common services com
based on multiple valuation methodologies), portfolio ana                ponents that provide access to the data in the data storage
lytics (Such as sector analysis, return analysis, scenario analy         system 124. The common services components provide ser
sis, capitalizations), fund management (e.g., facilitating part          vices that are accessible to users through various tabs on
nership accounting, disbursements, capital calls, and so on),            screen displays generated by the PCMS logic 126 using the
dilution analysis (e.g., permitting exit dilutions to be forecast   60   network interface logic 122. The common services compo
based on future events, permitting analysis of portfolio com             nents include pipeline tab logic 222, ownership tab logic 224,
pany capitalizations, and so on), market analytics (e.g., sector         portfolio tab logic 226, funds tab logic 228, investors tab logic
ratios, performance ratios, capital flows), buying/selling of            230, security tab logic 232, traunches tab logic 234, transac
primary and secondary securities while ensuring compliance               tion tab logic 236, comparables tab logic 238, debt tab logic
with covenants, and so on.                                          65   240, debt transactions tab logic 242, options tab logic 244.
   The PCMS logic 126 may also comprise an individual                    options transactions tab logic 246, derivative tab logic 248,
investor application 204 accessible to individual investors,             derivative transactions tab logic 250, capital transactions tab
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logic 252, diligence tab logic 254, liquidation tab logic 256,               The upper view pane 286 displays Summary information
income transactions logic 258, activities tab logic 260, com              for each record and the lower view pane 288 displays detailed
ments tab logic 262, activities dependencies tab logic 264.               information for the record that is highlighted above (i.e., in
projects tab logic 266, portfolio summary tab logic 268 and               the upper view pane). If the user clicks on the header for a
investor registrations tab logic 270. As will be appreciated,        5    particular column, the system re-sorts the databased on the
less, additional, or different logic may also be provided.                header selected by the user (e.g., to sort the companies in
   Referring now to FIG. 2B, FIG. 2B shows a screen display               alphabetical order if the user selects the company header).
201 generated by the PCMS logic 126. As shown in FIG. 2B,                 The upper view pane 286 includes a side scroll bar 291 to
the tab logic 222-270 of FIG. 2A corresponds to a series of               display additional records and a bottom scroll bar 292 to view
tabs 275 that may be accessed by a user to perform various           10   additional information for each record. Likewise, the lower
operations on the data stored in the data storage system 124.             view pane 288 includes a side scroll bar 293, and may also
The series of tabs 275 include a pipeline tab 302, an owner               include a bottom scroll bar (not shown) to display additional
ship tab 402, a portfolio tab 502, a funds tab 602, an investors          information for a particular record. New records may be
tab 702, a security tab 802, a traunches tab 902, a transaction           added responsive to the user clicking on icon 295. Thus, if the
tab 1002, a comparables tab 1102, and a debt tab 1202. In the        15   user wants to add a new company to the pipeline, the user may
example shown in FIG. 2B, the user has selected the pipeline              click on icon 295. Records may be edited responsive to the
tab 302. Although not specifically shown in FIG. 2B, addi                 user clicking on icon 296. Icon 297 provides tools to permit
tional tabs are available by way of a pair of scroll buttons 281          additional functions to be performed. FIG. 2C shows an
which permit the user to scroll left and right to select which            example menu 299 provided in response to the user clicking
tabs are displayed. Thus, in FIG.2B, as will become apparent              on icon 297. Menu 299 is shown as being provided in the
below, additional tabs are available to the user by clicking on           context of funds tab 602, although other menus may be avail
the right scroll button. (In the state shown in FIG. 2B, no               able in connections with other ones of the tabs 275.
further tabs are available via the left scroll button.) A side-bar           Referring now to FIG. 3A to FIG. 27, the tools that are
menu 283 includes a more complete listing of tabs that are                provided to the various types of users are now described. FIG.
available. The side-bar menu 283 is retractable responsive to        25   3A to FIG. 27 show screen displays provided responsive to
the user clicking on button 284. A user may also navigate                 the user selecting various ones of the series of tabs 275. Again,
through the various screen displays by selecting particular               although the tools are described in the context of an institu
fields and following links to Screen displays associated with             tional investor using institutional investor application 202, it
those fields. For example, if the user clicks on a company, the           will be appreciated that the same tools may be provided to
user may be taken to the ownership tab 402 showing capitali          30   other types of users using one of the other applications 204
Zation information for that company. If the user selects one of           208.
the securities, the user may be taken to security tab 802 to be              Referring first to FIGS. 3A-3C, a screen display 301 is
provided with additional information concerning a selected                shown that may be generated for example when the user
one of the securities.                                                    selects pipeline tab 302. The screen display 301 is generated
   In the example shown in FIG.2B, the screen display 201 is         35   using the pipeline tab logic 222. The pipeline tab 302 is used
generated from within the institutional investor application              to track the status of pre-deal companies in the investors
202. In one example embodiment, functionality associated                  pipeline. The individual companies in the investor's pipeline
with each tab 275 is reused in each of the applications 202               are listed as records in upper view pane 336. Specific infor
208. The user interface presented through the tabs 275 may                mation about a selected one of the companies is provided in
operate the same way within each of the applications,                40   lower view pane 338. For example, the user may be provided
although the data that the user may view (or create, edit, or             with information pertinent to the funding source in field 310,
delete) may vary depending on the user and the other entities             company details in field 312, financing details in field 314,
with which it has a financial relationship. The applications              company financial information in field 316, a comments field
202-208 may be distinguishable from in that different ones of             318, and other information about key events (e.g., new busi
the applications 202-208 may provide different ones of the           45   ness opportunities) in field 320.
tabs 275. Herein, for purposes of providing an example, it is                Responsive to the user selecting new record button 395, the
assumed that the other application 204-208 are provided with              pipeline tab logic 222 creates a new record. The user may be
a subset of the tabs 275 that are provided in connection with             provided the ability to enter the company name and choose
the institutional investor application 202. The tabs 275 each             from the options beneath the funding process and deal status
provide a different view into the data stored in data storage        50   labels to indicate the deal’s position in the pipeline. Reference
system 124. Hence, institutional investors, companies, indi               information including the deal team leader, secondary person
vidual investors, exchanges, and secondary stakeholders are               and referrer can also be selected from the drop down menus as
provided with different views depending on which tabs 275                 shown in field 310. Dates may also be entered in field 310 and
they are provided.                                                        company details may be entered in field 312. Individuals are
   The user interface may be generally similar across various        55   entered into the system on the investor tab 702. FIGS. 3B and
ones of the tabs 275 provided by tab logic 222-270. The user              3C show portions of the screen display 301 that are presented
interface is now described in greater detail in the context of            responsive to the user scrolling further down the page. As
the pipeline tab 302. However, the other tabs 275 may be                  shown in fields 314 and 316 in FIGS. 3B and 3C, details for a
configured in generally the same manner.                                  proposed financing may be entered, including offering size,
   For each of the tabs 275, data is displayed using an upper        60   share price, and valuation. Summary financial information
view pane 286 and a lower view pane 288. The upper view                   for the company may also be displayed.
pane 286 lists records available through the respective tab and              By clicking on an advanced search button 332, the user
the lower view pane 288 shows details for the highlighted                 may cause a search to be performed to identify potential
records. The size of the viewable portion of the upper view               investment opportunities. Any of the data in lower view pane
pane 286 relative to the size of the viewable portion of the         65   388 may be used as search parameters. Thus, a search may be
lower view pane 288 may be adjusted responsive to the user                performed for companies meeting specified search criteria
grabbing and moving a handle 289.                                         (e.g., all companies within a particular industry/sub-indus
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                                7                                                                       8
try), in which case only the companies meeting the specified               A dilution analyzer may be provided that provides dilution
search criteria are displayed in upper view pane 386.                    information based on pre-money valuation, the amount of
   Referring now to FIGS. 4A-4B, a screen display 401 is                 money that is being raised, the option pool target, whether the
shown that may be generated for example when the user                    debt is to be converted, and so on. Based on this information,
selects ownership tab 402. The screen display 401 is gener          5    the dilution analyzer may calculate per share price. The dilu
ated using the ownership tab logic 224. The ownership tab                tion analyzer may store information concerning rights and
402 provides the user with the ability to track the information          terms (e.g., liquidation preferences) and perform calculations
regarding the ownership or capitalization tables of companies            to determine whether any of rights are triggered. A first year
registered in system 100. By selecting different companies,         10
                                                                         price may be calculated to convert debt. Liquidation prefer
the capitalization tables of different companies may be                  ences and other criteria may be included in the calculations.
viewed. In an example embodiment, the user is provided with                 Ownership logic 224 may include business rules to analyze
the ability to view all companies. In another example embodi             information as it is dynamically updated. For example, infor
ment, the user is only able to view the capitalization tables of         mation about security issuances may be analyzed, e.g., to
a Subset of the companies, e.g., those companies in which the       15   detect approaching dilution authorization limits and provide
investor has an ownership interest (e.g., ownership of an                warnings to company management and the board of directors.
equity interest and/or ownership of a debt interest).                       Referring now to FIG. 5, a screen display 501 is shown that
   Upper view pane 486 comprises a listing of companies for              may be generated for example when the user selects portfolio
which capitalization information is available. Specific infor            tab 502. The screen display 501 is generated using the port
mation about a selected one of the companies is provided in              folio tab logic 226. The screen display 501 may be used by the
lower view pane 488. For example, the user may be provided               investor to view information regarding equity and debt trans
with information about total authorized shares, total issued             actions with individual companies in its investment portfolio.
shares, securities issued, securities authorized, options out               In the upper view pane 586, various data regarding each of
standing, options available for grant, derivatives authorized,           the companies in the investor's portfolio is shown, including
derivatives issued, derivatives outstanding, debt issued, and       25   the issuer/company name, internal rate of return (IRR), cur
so on, in fields 410-420. It may be noted that the price per             rent price, price date, unrealized gain, market value, total cash
share is based on transactional data, i.e., it may be the current        investment, industry, Sub-industry, and terminal cash flow.
price per share, not the price per share when issued (which is           Again, the user may select a specific company in upper view
shown in the traunches fields). Such information may be                  pane 586 and, in response, information regarding the com
dynamically updated based on transaction data collected by          30   pany is displayed in lower view pane 588. In the lower view
system 100. As described in greater detail below, system 100             pane 588, additional data regarding a selected company is
may be used to conduct equity and debt transactions between              shown. As elsewhere, data shown in the lower view pane 588
companies and investors and between investors and other                  may be dynamically updated. For example, if the user enters
investors. Thus, for example, when common stock is traded                a new current price, the IRR may be dynamically updated.
between two investors, the price at which the transaction           35   Alternatively, the new current price may be obtained from
occurred may be reflected as an updated share price in field             other sources, such as third party data or data collected by the
412. Likewise, when indications of interested are converted to           system 100 in connection with other transactions involving
common stock, such transactions may be reflected in the                  the respective company being viewed.
number of shares issued in field 412. Likewise, when options                Referring now to FIGS. 6A-6D, a screen display 601 is
are converted to stock, or when new debt is issued. Such            40   shown that may be generated for example when the user
transactions may also be reflected. Such transactional data              selects funds tab 602. The screen display 601 is generated
may be reflected in the views provided to all interested par             using the funds tab logic 228. The screen display 601 is used
ties, regardless whether Such party was involved in a particu            to track partnership accounting information (e.g., where a
lar transaction. Thus, transparency into companies’ financial            fund is organized as a partnership entity).
information is enhanced for the various stakeholders. Addi          45      In upper view pane 686, a listing of individual funds is
tionally, tab 402 provides a standard format for presenting the          provided. For example, a capital management firm may man
capitalization information of companies. Thus, the stakehold             age twenty-five different funds that it makes available to its
ers are provided with a standardized, transparent view into the          customers (e.g., individual investors, partnerships, etc.) for
into company finances, which facilitates comparison and                  investment. In such a scenario, in upper view pane 686, a
valuation.                                                          50   listing of the twenty-five different funds is provided.
   The user is also provided with the ability to “drill down” on            In lower view pane 688, additional information about a
various entries in fields 410-418. For example, if the user              selected one of the funds is provided. In field 610, certain
wishes to view additional information about a security in                basic details regarding the fund are provided, such as its legal
entry 425, the user may click on the security. The user is then          name, fund type, number of partnership units, and so on.
delivered to the screen display provided by tab 802 and is          55   Fields 612-618 provide other related information, such as
provided with additional information about the security from             information regarding the payout structure of the fund, infor
within tab 802. Tab 802 is described in greater detail below in          mation about capital flows and capital calls, information
connection with FIG. 8.                                                  about individual investors in the fund, and so on. The infor
   From within the company application 206, companies may                mation about the payout structure of the fund received in field
use the tools provided by tab 402 to manage their capitaliza        60   612 may be used for liquidation analytics, as described in
tion tables. Where an investor has invested in a company that            connection with FIGS. 20A-20B, below
has not registered in system 100, the tab 402 may be used by                Responsive to the user selecting new record button 695 or
the investor to track capitalization information for the com             edit record button 696, the system 100 creates a new fund
pany. In example embodiment, the source of data regarding                record or edits an existing fund record, respectively. Addi
companies is also tracked and presented to users (e.g.,             65   tional inputs may then be received from the user to populate
whether the data is provided by the company, by an investorin            various fields, such as the fund name, fund size, dates, term,
the company, and so on).                                                 fees, price, and so on.
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                                                                                                        10
   Again, the information in fields 610-618 may be dynami                821, additional details regarding the selected transaction are
cally updated based on transaction data collected concerning             provided (i.e., the user is able to “drill down on the transac
transactions conducted through system 100. For example, if               tion). FIG. 10 (discussed below) shows the screen display
disbursements are made to partners in a fund, this information           provided to the user when the user clicks on icon 821.
may be reflected in field 612.                                              Responsive to the user selecting new record button 895 or
   Referring now to FIGS. 7A-7D, a screen display 701 is                 edit record button 896, the system 100 creates a new security
shown that may be generated for example when the user                    record or edits an existing security record, respectively. In the
selects investors tab 702. The screen display may also be                context of an added security record, the security may be given
generated responsive to other user inputs, for example, if the           a name (e.g., "preferred series A), designated with a security
user clicks on a particular investor from within another screen     10   type, and assigned an issue status responsive to user inputs.
display. The screen display 701 is generated using the inves             The totals for any issues of Stock do not appear in Screen
tors tab logic 230. The screen display 701 shows information             display 401 of the ownership tab 402 until the user indicates
for investors in the funds shown in FIGS. 6A-6D. The screen              the traunche has been issued. After saving, the user proceeds
display 701 may also show other investors. In an example                 to the traunche to provide inputs to create the details for a
embodiment, all investors, employees and stakeholders are           15   particular issuance (traunche) of equity.
entered on the investors tab 702.                                           Referring now to FIGS. 9A-9C, a screen display 901 is
   The screen display 701 shows various information regard               shown that may be generated for example when the user
ing the investors. In field 710, various summary information             selects traunches tab 902. The screen display 901 is generated
is shown, such as the registered name of the investor, the               using the traunches tab logic 234.
investor type, and so on. In field 712, various company infor               The traunches tab logic 234 permits the user to create
mation is shown, such as a description of the company, the               multiple traunches for a single security, e.g., to accommodate
company's website, and so on. (Depending on the investor,                situations where a company may have multiple issuances, or
some fields may remain unpopulated.) In fields 714 and 716,              traunches, of a particular equity security. Within each traun
address and contact information for the investor is shown,               che, the user may specify the number of shares authorized, the
respectively. In field 718, comments and activities are shown.      25   price, the purchases, the number of shares issues, and the
In field 720, various information regarding ownership is                 issue status, as shown in field 910. New records may be
shown, Such as securities ownership, bond ownership, Secu                created responsive to user inputs and the appropriate security
rity transactions, option transactions, and so on. In field 722,         and issuer capitalization may be chosen from drop down
accreditation information is shown, including membership in              menus. The number of securities authorized may also be
exchanges and any verifications/certifications that have been       30   entered by the user.
received. In field 724, other personal information is shown                 The user may enter the price for the stock issuance manu
regarding individuals associated with the investor.                      ally by selecting the manual price button912 and entering the
   Responsive to the user selecting new record button 795 or             price. Once an issue date is entered and saved, the issuance is
edit record button 796, the system 100 creates a new investor            registered within the system 100. If the issuance is saved but
record or edits an existing investor record, respectively. Sys      35   an issue date is not specified, the issuance is left as proposed.
tem 100 may be configured to permit the user to enter the                This allows for Scenario analysis using a traunche calculator,
name of the investor and to choose the investor type from the            as described below. The purchase of the equity may be
drop down menu. Further details may be entered in the fields             recorded by receiving an issue date from the user so the
712-724, previously described.                                           traunche is recorded. Information about each transaction may
   Referring now to FIGS. 8A-8B, a screen display 801 is            40   then be received from the user using the transaction tab 1002,
shown that may be generated for example when the user                    discussed below in connection with FIG. 10. The purchase of
selects security tab 802. The screen display may also be                 the equity may be recorded using a deal monitor shown in
generated responsive to other user inputs, for example, if the           field 912. The deal monitor may be used to track investor
user clicks on a particular security from within another screen          interest in a traunche.
display. The screen display 801 is generated using the Secu         45      System 100 is also able to syndicate allocation, and differ
rity tab logic 232.                                                      ent portions of a round of financing may be allocated to
   In the upper pane view 886, a listing of individual securities        different venture capitalists, angel networks, and so on. In the
is provided. As shown, a given company may have several                  indications of interest table 913, information regarding inves
different securities listed (e.g., common stock, preferred               tors may be received from the user using a drop-down menu.
series A, preferred series B, and so on). The securities listed     50   In the allocation column, information regarding each inves
may include securities the investor owns and securities that             tor's proposed amount may be received. Additional rows for
the investor has issued (e.g., partnership units). For example,          additional inventors may also be added. Once the record has
whereas a company may use security tab logic 832 to issue                been saved, the indications may be converted to actual pur
different classes of securities, an institutional investor may           chases of the fund responsive to the user clicking on the icon
use the security tab 802 to issue partnership units. Both sets of   55   997 and making appropriate menu selections. The data does
securities are viewable from within the screen display 801.              not then need to be re-entered by the user in the transactions
   In the lower pane view 888, additional information regard             tab 1002. The indications will be converted to transactions at
ing a selected one of the securities is provided. In field 810,          the traunche share price.
the user is provided with basic information about the security,             A traunche calculator button914 is provided which used by
Such as the name of the security, the type of security, the issue   60   the user to calculate a share price based on a proposed valu
status, and so on. In fields 812 and 814, the user is provided           ation and proposed issue amount. The traunche calculator
with information about traunches, options and derivatives for            facilitates the comparison of financing scenarios and the
the security. In field 816, the user is provided with a location         assessment of their impact on the company capitalization.
to enter due diligence information.                                      FIG. 9D shows screen display 901 when the traunche calcu
   In field 820, the user is provided with information about        65   lator is displayed in field 920. The user selects pre-money or
security transactions. In FIG. 8B, the user has selected one of          post-money valuation and enters the proposed valuation and
the security class transactions. When the user clicks on icon            issue amount. If the user wants a target option pool, the
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appropriate option is selected and the percent is entered.                type using a pull-down menu 1106. In FIG. 11B, the user has
Lastly, the user selects whether convertible debt should be               selected to be provided comparables for the apparel industry,
converted to equity. Once the record is saved, the post money             and is provided such information in screen display 1121. In
shares are displayed and the share price is displayed in field            FIG. 11C, the user has selected to be provided comparables
910. Also, as indicated above, the record can be saved without            for the apparel industry, and is provided such information in
incorporating the data into the company capitalization. If the            screen display 1131. The user may be provided with infor
record is saved but an issue date is not specified, then the              mation such as valuation, revenue, EBITDA, and so on, for
company capitalization is not updated. The traunche calcula               comparable companies.
tor may therefore be used to compare of financing scenarios                  The system aggregates data from all companies and pre
and assessing their impact on the company capitalization             10   sents it (on an opt-in basis for each company) on the screen
without necessarily updating the capitalization table.                    display 1101. Market data (e.g., whether a company is in a
   Once the traunche has been saved, the prospective capitali             particular sub-industry) may be collected in the pipeline tab
Zation table of the company can be previewed by highlighting              302 when a company is registered in system 100. For
the traunche and clicking the icon 997. In response to selec              example, the comparables data may be based on the company
tion of icon 997, a menu is provided from which the user may         15   registration data, where the issue status has gone from pro
make further selections to view the prospective capitalization            posed to issued. The comparables data may also be generated
table. The preview of the company capitalization table is                 based on actual transaction data collected by the system 100
provided in field 914.                                                    using transaction tab 1002. The comparables data may also be
   The traunchestab logic 234 includes a term sheet generator             anonymized, e.g., the screen display may not provide com
that generates a term sheet for the financing (see FIGS.9B and            pany-identifying information for companies in which the user
9C). The term sheet generator generates term sheets based on              is not an investor or other stakeholder.
template language and, for example, incorporates the share                   Referring now to FIGS. 12A-12B and FIG. 13, a screen
price, total shares issued, structure of the investment, and              display 1201 is shown in FIGS. 12A-12B that may be gener
other information. The information for the term generator is              ated for example when the user selects debt tab 1202. The
populated using the information associated with the security         25   screen display 1201 is generated using the debt tab logic 240.
class.                                                                    In FIG. 13, a screen display 1301 is shown that may be
   Referring now to FIG. 10, a screen display 1001 is shown               generated for example when the user selects debt transactions
that may be generated for example when the user selects                   tab 1302. The screen display 1301 is generated using the debt
transactions tab 1002. The screen display 1001 may also be                transactions tab logic 242. The debt tab 1202 and debt trans
provided in response to other user inputs, for example, if the       30   actions tab 1302 may provide similar tools for the user as are
user clicks on a particular transaction from within another               provided by the security tab 802 and the transaction tab 1002.
screen display. The screen display 1001 is generated using the            That is, the debt tab 1202 may be used to create/edit records
transaction tab logic 236.                                                for new/existing debt securities (instead of equity securities),
   Responsive to the user clicking on new record icon 1097,               and the debt transactions tab 1302 may be used to create and
the transaction tab logic may receive and store information          35   edit records for debt security transactions (instead of equity
regarding new equity transactions. Data received from the                 securities transactions).
user may include information regarding the security, the                     In an example embodiment, debt transactions tab 1302 is
investor, the transaction type, shares, price and transaction             configured to facilitate debt conversions. To convert debt into
date. If a counterparty in a transaction is not a registered user,        equity, the user may select the debt transaction that is to be
then an e-mail may be sent to the counterparty by system 100         40   converted from within the debt transactions tab 1302. Icon
inviting the counterparty to become a registered user. The                1397 may be selected to cause a window to open in which the
natural progression of conducting transactions through sys                user enters the number of bonds to convert (which equals the
tem 100 causes the base of users to increase.                             value of the debt if the notes were issued at S1.00 par value)
   By permitting users to conduct transactions involving                  and the transaction date. The number of bonds held as shown
equity securities through transactions tab 1002, system 100 is       45   in field 1310 then decreases by the number converted and the
able to collect market data regarding registered companies.               investor will own shares based on a conversion ratio. Field
The data is collected at the most atomic level, in the context of         1314 shows previously converted bonds. The capitalization
individual transactions. Further, as described below, informa             table in FIGS.
tion regarding other types of transactions including debt                    Referring now to FIG. 14 and FIGS. 15A-15B, a screen
transactions and options transactions may also be collected in       50   display 1401 is shown in FIG. 14 that may be generated for
the same manner. Transactions may be conducted in the con                 example when the user selects options tab 1402. The screen
text of primary market trading (e.g., between a company and               display 1401 is generated using the options tab logic 244. In
an investor) or secondary market trading (e.g., between two               FIGS. 15A-15B, a screen display 1501 is shown that may be
investors). System 100 thereby provides a private equity and              generated for example when the user selects options transac
private debt marketplace for trading in the primary and sec          55   tions tab 1502. The screen display 1501 is generated using the
ondary markets. The data collected during operation of the                options transactions tab logic 246. The options tab 1402 and
marketplace may then be fed back into other portions of                   options transactions tab 1502 may provide similar tools for
system 100, for example, to provide updated company finan                 the user as are provided by the security tab 802 and the
cial information, to provide updated market analytics, and so             transaction tab 1002. That is, the options tab 1402 may be
O.                                                                   60   used to create/edit records for new/existing options (instead
   Referring now to FIGS. 11A-11C, a screen display 1101 is               of securities), and the options transactions tab 1502 may be
shown that may be generated for example when the user                     used to create and edit records for options transactions (in
selects comparables tab 1102. The screen display 1101 is                  stead of securities transactions). The tabs 1402 and 1502 may
generated using the comparables tab logic 238.                            be used to issue option grants, to exercise option grants, to
   As shown in FIG. 11A, the user may obtain comparables             65   cancel option grants, to repurchase option grants, and so on.
information based on industry using a pull-down menu 1104                    The exercise of shares and stock options grants awarded to
or may obtain comparables information based on security                   employees in the company may be presented. An exercise
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option dialog box requests input of how many shares are to be               Referring now to FIG. 19, a screen display 1901 is shown
exercised exercise and the transaction date. Based on this               that may be generated for example when the user selects
information, system 100 calculates the exercise price. If an             diligence tab 1902. The screen display 1901 is generated
investor wants to cancel his shares or an employee leaves the            using the diligence tab logic 254. The diligence tab 1902
company, System 100 automatically chooses the departure                  provides an electronic due diligence room which stores docu
date depending on the option plan grace period date and                  ments associated with the due diligence process, including
notifies the administrator that the grace period is coming due           prior purchase agreements, amendments, shareholder agree
and will cancel the shares that were not exercised before the            ments, other contracts associated with the operation of the
given date. The vesting schedule may also be edited. When                company, information regarding intellectual property, and so
options are exercised, the traunche calculator recalculates the     10   on. The documents in the due diligence room may be
shares available to be exercised, and the capitalization table in        uploaded by users and made accessible to various parties
FIG. 4 is automatically updated. As indicated previously,                associated with a proposed transaction.
business rules may also be included to ensure that the proper               Referring now to FIGS. 20A-20B, a screen display 2001 is
number of shares or securities are authorized by the board of            shown that may be generated for example when the user
directors.                                                          15   selects liquidation tab 2002. The screen display 2001 is gen
   In one example embodiment, a binomial pricing model is                erated using the liquidation tab logic 256.
used to value options. The binomial pricing model uses a                    The liquidation tab provides tools for assessing the payouts
discrete-time framework to trace the evolution of the options            if a company is liquidated. In upper view pane 2086, various
key underlying variable via a binomial lattice (tree) for a              liquidation scenarios are identified. Each scenario is created
given number of time steps between valuation date and option             by the user and is based on a different set of assumptions. In
expiration. Each node in the lattice represents a possible price         lower view pane 2088, information for a given scenario is
of the underlying at a particular point in time. This price              entered. In field 2010, a hypothetical liquidation price is
evolution forms the basis for the option valuation. The valu             entered. Based on the investment structure as set forth in
ation process is iterative, starting at each final node, and then        fields 2012-2020 (including a specification of the order in
working backwards through the tree to the first node (valua         25   which the securities receive payouts), various securities
tion date), where the calculated result is the value of the              receive different levels of payouts. The payouts are shown in
option. The utilization of a binomial model facilitates han              fields 2022-2028.
dling stepwise pricing of private equity options. Binomial                  Referring now to FIG. 21, a screen display 2101 is shown
pricing also enables a valuation of options, e.g., employee              that may be generated for example when the user selects
stock ownership plan, warrants, etc., which permits an active       30   income transactions tab 2102. The screen display 2101 is
private equity option pricing market based on an index basket            generated using the income transactions tab logic 258. The
of options. That is, it facilitates the creation of a basket of          income transaction tab 2102 provides tools to capture infor
companies in one or more industry groups, and the trading of             mation associated with income events, such as the distribu
a basket of options associated with the basket of companies in           tion of dividends.
the industry groups. Binomial pricing also permits mark-to          35      Referring now to FIG. 22, a screen display 2201 is shown
market valuation of securities using current market pricing.             that may be generated for example when the user selects
   Referring now to FIGS. 16 and 17, a screen display 1601 is            activities tab. 2202. The screen display 2201 is generated
shown in FIG.16that may be generated for example when the                using the activities tab logic 260. The activities tab. 2202
user selects derivatives tab 1602. The screen display 1601 is            provides tools to track due diligence related activities. In field
generated using the derivative tab logic 248. In FIG. 17, a         40   2210, tasks may be assigned to different parties and informa
screen display 1701 is shown that may be generated for                   tion regarding the start date, end date, status, and so on, of the
example when the user selects derivatives transactions tab               task may be tracked. Task dependencies and resources
1702. The screen display 1701 is generated using the deriva              required may be tracked in fields 2212 and 2214, respectively.
tive transactions tab logic 250. The derivative tab 1602 and                Referring now to FIG. 23, a screen display 2301 is shown
derivative transactions tab 1702 may provide similar tools for      45   that may be generated for example when the user selects
the user as are provided by the security tab 802 and the                 comments tab 2302. The screen display 2301 is generated
transaction tab 1002. That is, the derivative tab 1602 may be            using the comments tab logic 262. The comments tab 2302
used to create/edit records for new/existing derivatives (in             provides tools to facilitate the communication of messages
stead of securities), and the derivative transactions tab 1702           between stakeholders in a transaction, e.g., during due dili
may be used to create and edit records for options transactions     50   gence, during an initial round of financing, and so on. The
(instead of securities transactions). The derivatives tab 1602           messages may be designated as public or may be kept as
and derivative transactions tab 1702 may be used to create               private.
new classes of warrants (derivatives), grant warrants, exercise             Referring now to FIG. 24, a screen display 2401 is shown
warrants, and so on.                                                     that may be generated for example when the user selects
   Referring now to FIG. 18, a screen display 1801 is shown         55   activity dependencies tab 2402. The screen display 2401 is
that may be generated for example when the user selects                  generated using the activity dependencies tab logic 264. The
capital transactions tab 1802. The screen display 1801 is                activity dependencies tab 2402 provides tools to track infor
generated using the capital transactions tab logic 252. The              mation regarding activity dependencies (e.g., which activities
capital transactions tab 1802 provides tools to assist with              depend on the prior performance of other activities). Such
tracking capital commitments of investors and making capital        60   data is used to populate field 2212 of FIG. 22.
calls. Upper view pane 1886 includes a listing of investors.                Referring now to FIG. 25, a screen display 2501 is shown
For a specific investor selected in upper view pane 1886,                that may be generated for example when the user selects
lower view pane 1888 shows additional information such as                projects tab 2502. The screen display 2501 is generated using
capital commitments, paid in capital, total disbursements, and           the projects tab logic 266. Projects tab 2502 may be used for
capital remaining in field 1810. Fields 1812 and 1814 facili        65   project management. For example, a project plan may be
tate the making of capital calls and capital disbursements.              created for a due diligence project. The project may include
Field 1816 provides additional investor details.                         various activities, as shown in field 2510. Such activities are
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                               15                                                                   16
used to populate the activity dependencies tab 2402. Such a             and analytics. The company application 206 also automates
project may involve the performance of activities by individu           the transfer of data between a company and investors and
als on both sides of a transaction (e.g., company and investor).        provides the foundation for a secondary private equity mar
Comments tab 2302 may be used to facilitate the communi                 ket. The company application 206 is a base application where
cation of messages between the two sides of the transaction        5    most of the information contained on the tabs is data that is
regarding the performance of Such activities. The status of             entered from users and not transferred from other applica
activities may be dynamically updated between applications              tions. The two main modules in the company application are
to reflect tasks performed by different stakeholders.                   the company Summary module 2814 and the capitalization
   Referring now to FIG. 26, a screen display 2601 is shown             module 2816 which contain the securities information per
that may be generated for example when the user selects            10   taining to the company. The capitalization module 2816 con
portfolio Summary tab 2602. The screen display 2601 is gen              tains information about each security/warrant/options/debt
erated using the portfolio Summary tab logic 268 and provides           transaction executed by the company as well as issuance
the breakdown of the investments in the portfolio. Various              information. The company Summary module 2814 has the
portfolio analytics may be provided based on transaction data           company market information, capitalization overview, mar
collected by system 100 and/or based on data from third-party      15   ket analytics and liquidation analytics.
Sources. For example, graphical analyses of portfolio compa                The starting point for companies is to fill in the company
nies market values and segmentation may be shown. Other                 Summary tabs and populate the contacts module with board
features may include performance reporting, portfolio Seg               members, officers, employees and contact people. Issuance
mentation, and portfolio planning and Scenario analysis.                and transaction information may also be populated and may
   Referring now to FIG. 27, a screen display 2701 is shown             be used to consolidate and calculate information to pass along
that may be generated for example when the user selects                 to investors. Other modules that complete the company appli
investor registrations tab 2702. The screen display 2701 is             cation are the contact management module 2818, the sched
generated using the investor registrations tab logic 270. For           uling module 2820, and the reporting module 2830. These
example, if a counterparty in a transaction is not registered in        modules may be standard in each of the applications and
system 100, the counterparty may receive an e-mail inviting        25   transfer data between each of the different applications. The
the counterparty to register, as previously described. In Such          contact management module 2818 may also include investor
an Scenario, the counterparty may be taken to investor regis            certification. Investors are certified in order to gain access to
tration tab 2702 to register and provide investor information.          the private capital management system 100. The certification
Applications 204-208 may include similar tabs for individual            information is part of their contact information stored in the
investors, companies, and exchanges, respectively. In the          30   contact management module 2818. The certification process
context of a company registration, for example, company                 allows company capitalization data to be transferred to their
information that is collected may include the financials, the           investor application on a regular schedule. The scheduling
competitors, the market size, the management team, the                  module 2820 includes batch processing, project manage
directors, and so on. Again, data may be communicated                   ment, time line analysis, and activity tracking. The schedul
between applications 202-208 in this regard. For example,          35   ing module 2820 is able to accept requests for information
when a company registers, the information that is entered               from investor applications. The report generation module
may then be used to populate displays provided to investors             2830 has a predefined set of reports that may be generated.
concerning the company. Likewise, when a new user signs up              Some of the reports may be created internally and other
for the system, the data that is provided by the user may be            reports will export data to generate the reports in outside
anonymized, aggregated and used for market analytics.              40   applications.
   Referring now to FIGS. 28A-28B, an alternative layout for               The investor application in FIGS. 28A-28B may be used by
the program logic and graphical user interface for the PCMS             individual investors or institutional investors. The investor
logic 126 of FIG. 1 is shown. As described above, the PCMS              application is modular so modules may be added as needed.
logic 126 may comprise an institutional investor application            The different modules may include fund management mod
202, an individual investor application 204, a company appli       45   ule 2822, portfolio management module 2824, deal flow
cation 206, and an exchange application 208. The applica                management module 2812, and market analytics module
tions 202-208 are represented generically by top level appli            2828. Such modules may work independently or in concert
cation 2802 in FIGS. 28A-28B. The top level application                 with the other modules. Potential investors in the fundraising
comprises a number of modules 2812-2828 which, in turn,                 are added via the contact management module 2818 and are
each comprise a number of Sub-modules. The graphical user          50   certified before being accepted in the fund. The fund manager
interface may be similarly organized. Thus, rather than have            enters each investors information and interacts with the
a single layer of tabs 302-2702 as described above, multiple            PCMS logic 126 to follow the certification process. The fund
tiers of tabs may be provided. For example, when the user is            setup Sub-module receives information about potential
using the capitalization module 2614, the user may be pro               investments from the company application 206 of companies
vided with the ability to drill down into sub-tabs to utilize      55   planning a new round of financing. Once the fund has agreed
overview tools, security tools, issuance tools, transactions            to invest in a company, the fund information is pushed to a
tools, fundraising tools, and liquidation tools. The modules            company indications of interest issuance database along with
that form each application 202-208 may be the same or dif               certification information. The portfolio management module
ferent for each application202-208. Each of the modules may             2824 receives information from companies where the fund
communicate through a standard interface protocol such that        60   has investments. Capitalization table data is transferred to the
the modules are able to intercommunicate.                               module 2824 periodically from the company Summary mod
   In such an arrangement, the applications 202-208 may be              ule 2814 of each company where the fund has investments.
configured generally as described above in connection with              The fund manager may also request capitalization data as
FIGS. 1-27. The company application 206 allows companies                well as c data from companies. The accounting module 2826
to log and track investors in their company. The company           65   may be used to track portfolio status. The deal flow manage
application 206 is also used to communicate with Such inves             ment module 2812 receive data from the company applica
tors and keep the investors up-to-date with investment status           tions 206 on their investment status. In addition to company
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Summary and capitalization data, companies may also send               of the invention may also be practiced in distributed comput
financial data. This information is used to track deals of an          ing environments where tasks are performed by local and
institutional investor's portfolio. The market analytics mod           remote processing devices that are linked (either by hard
ule 2828 receives company Summary and capitalization data              wired links, wireless links, or by a combination of hardwired
for their current investments as well as anonymous company             or wireless links) through a communications network. In a
data used to track their portfolio performance. Anonymous              distributed computing environment, program modules may
company data is provided by PCMS logic 126 and not directly            be located in both local and remote memory storage devices.
from the individual companies.                                            An exemplary system for implementing the overall system
   The embodiments of the present invention have been                  or portions of the invention might include a general purpose
described with reference to drawings. The drawings illustrate     10   computing computers in the form of computers, including a
certain details of specific embodiments that implement the             processing unit, a system memory or database, and a system
systems and methods and programs of the present invention.             bus that couples various system components including the
However, describing the invention with drawings should not             system memory to the processing unit. The database or sys
be construed as imposing on the invention any limitations that         tem memory may include read only memory (ROM) and
may be present in the drawings. The present invention con         15   random access memory (RAM). The database may also
templates methods, systems and program products on any                 include a magnetic hard disk drive for reading from and
machine-readable media for accomplishing its operations.               writing to a magnetic hard disk, a magnetic disk drive for
The embodiments of the present invention may be imple                  reading from or writing to a removable magnetic disk, and an
mented using an existing computer processor, or by a special           optical disk drive for reading from or writing to a removable
purpose computer processor incorporated for this or another            optical disk such as a CD ROM or other optical media. The
purpose or by a hardwired system.                                      drives and their associated machine-readable media provide
   As noted above, embodiments within the scope of the                 nonvolatile storage of machine-executable instructions, data
present invention include program products comprising                  structures, program modules and other data for the computer.
machine-readable media for carrying or having machine-ex               It should also be noted that the word “terminal” as used herein
ecutable instructions or data structures stored thereon. Such     25   is intended to encompass computer input and output devices.
machine-readable media can be any available media that can             User interfaces, as described herein may include a computer
be accessed by a general purpose or special purpose computer           with monitor, keyboard, a keypad, a mouse, joystick or other
or other machine with a processor. By way of example, Such             input devices performing a similar function.
machine-readable media can comprise RAM, ROM,                             It should be noted that although the diagrams herein may
EPROM, EEPROM, CD-ROM or other optical disk storage,              30   show a specific order and composition of method steps, it is
magnetic disk storage or other magnetic storage devices, or            understood that the order of these steps may differ from what
any other medium which can be used to carry or store desired           is depicted. For example, two or more steps may be per
program code in the form of machine-executable instructions            formed concurrently or with partial concurrence. Also, some
or data structures and which can be accessed by a general              method steps that are performed as discrete steps may be
purpose or special purpose computer or other machine with a       35   combined, steps being performed as a combined step may be
processor. Thus, any such a connection is properly termed a            separated into discrete steps, the sequence of certain pro
machine-readable medium. Combinations of the above are                 cesses may be reversed or otherwise varied, and the nature or
also included within the scope of machine-readable media.              number of discrete processes may be altered or varied. The
Machine-executable instructions comprise, for example,                 order or sequence of any element or apparatus may be varied
instructions and data which cause a general purpose com           40   or Substituted according to alternative embodiments. Accord
puter, special purpose computer, or special purpose process            ingly, all Such modifications are intended to be included
ing machines to perform a certain function or group of func            within the scope of the present invention. Such variations will
tions.                                                                 depend on the software and hardware systems chosen and on
   Embodiments of the present invention have been described            designer choice. It is understood that all such variations are
in the general context of method steps which may be imple         45   within the scope of the invention. Likewise, software and web
mented in one embodiment by a program product including                implementations of the present invention could be accom
machine-executable instructions, such as program code, for             plished with standard programming techniques with rule
example in the form of program modules executed by                     based logic and other logic to accomplish the various data
machines in networked environments. Generally, program                 base searching steps, correlation steps, comparison steps and
modules include routines, programs, objects, components,          50   decision steps.
data structures, etc. that perform particular tasks or imple              The foregoing description of embodiments of the invention
ment particular abstract data types. Machine-executable                has been presented for purposes of illustration and descrip
instructions, associated data structures, and program modules          tion. It is not intended to be exhaustive or to limit the invention
represent examples of program code for executing steps of the          to the precise form disclosed, and modifications and varia
methods disclosed herein. The particular sequence of Such         55   tions are possible in light of the above teachings or may be
executable instructions or associated data structures represent        acquired from practice of the invention. The embodiments
examples of corresponding acts for implementing the func               were chosen and described in order to explain the principals
tions described in Such steps.                                         of the invention and its practical application to enable one
   As previously indicated, embodiments of the present                 skilled in the art to utilize the invention in various embodi
invention may be practiced in a networked environment using       60   ments and with various modifications as are Suited to the
logical connections to one or more remote computers having             particular use contemplated. Other Substitutions, modifica
processors. Those skilled in the art will appreciate that such         tions, changes and omissions may be made in the design,
network computing environments may encompass many                      operating conditions and arrangement of the embodiments
types of computers, including personal computers, hand-held            without departing from the scope of the present invention.
devices, multi-processor systems, microprocessor-based or         65      Throughout the specification, numerous advantages of the
programmable consumer electronics, network PCs, mini                   exemplary embodiments have been identified. It will be
computers, mainframe computers, and so on. Embodiments                 understood of course that it is possible to employ the teach
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ings herein without necessarily achieving the same advan                 ing status of activities to reflect tasks performed by the indi
tages. Additionally, although many features have been                    viduals on the different sides of the pre-financing interac
described in the context of a particular data processing unit, it        tions.
will be appreciated that such features could also be imple                  4. A computer-implemented data processing system com
mented in the context of other hardware configurations.             5    prising:
   While the exemplary embodiments illustrated in the fig                   a network interface that connects the data processing sys
ures and described above are presently preferred, it should be                 tem to computers associated with a plurality of users by
understood that these embodiments are offered by way of                        way of a communication network, the plurality of users
example only. Other embodiments may include, for example,           10
                                                                               including companies and investors in the companies, the
structures with different data mapping or different data. The                  network interface receiving information from the com
invention is not limited to a particular embodiment, but                       puters including information regarding capitalization
extends to various modifications, combinations, and permu                      and financial performance of the companies, the capi
tations that nevertheless fall within the scope and spirit of the              talization including equity securities and debt securities
appended claims.                                                    15         issued by the companies and traded in private capital
                                                                               markets, the investors having ownership interests in the
  What is claimed is:                                                          equity securities and the debt securities; and
   1. A computer-implemented data processing system com                     a data storage system that receives and stores the informa
prising:                                                                       tion regarding capitalization and financial performance
   a network interface that connects the data processing sys                   of companies; and
      tem to computers associated with a plurality of users by              a processor and computer-readable media, the computer
      way of a communication network, the plurality of users                   readable media having instructions stored therein that
      including companies, institutional investors, individual                 when executed by the processor cause the processor to
      investors, and exchanges, the network interface receiv                   implement stored capital management logic, the stored
      ing information from the computers including informa          25         capital management logic accessible to a plurality of
      tion regarding capitalization and financial performance                  users by way of a communication network, the stored
      of companies, the capitalization including equity Secu                   capital management logic being configured to facilitate
      rities and debt securities issued by the companies and                   transactions between the companies and the investors
      traded in private capital markets, the investors having                  including issuance of securities by the companies, the
      ownership interests in the equity securities and the debt     30         securities including debt securities and equity securities,
     securities; and                                                           the capital management logic being further configured
  a data storage system that receives and stores the informa                   to facilitate transactions between the investors including
     tion regarding capitalization and financial performance                   secondary market trading of the securities, and the
     of companies; and                                                         stored capital management logic being configured to
  a processor and computer-readable media, the computer             35         track the capitalization and financial performance of the
     readable media having instructions stored therein that                    companies.
     when executed by the processor cause the processor to                  5. A system according to claim 4, wherein the transactions
     implement stored capital management logic, the stored               are conducted through the system, and wherein the system
     capital management logic being accessible to the plural             collects data regarding the transactions as the transactions
     ity of users by way of the communication network, the          40 OCCU.
     stored capital management logic being configured to                    6. A system according to claim 5, wherein the capital
     facilitate pre-financing and post-financing transactions            management logic further comprises stored logic configured
     and other interactions between the companies, the insti             to aggregate and anonymize the data regarding the transac
     tutional investors, the individual investors, and the               tions and to generate market analytics information for pre
      exchanges throughout one or more rounds of financing          45   sentation to a user based on the aggregated and anonymized
      of the companies, the stored capital management logic              data regarding the transactions.
      being configured to track the capitalization and financial            7. A system according to claim 4, wherein the stored capital
      performance of the companies.                                      management logic comprises stored security logic and Secu
   2. A system according to claim 1, wherein the transactions            rity transactions logic, the stored security logic being config
are conducted through the system, and wherein the system            50   ured to facilitate the creation of equity securities, and the
collects data regarding the transactions as the transactions             security transactions logic being configured to receive data
occur, wherein the stored capital management logic com                   regarding the transactions between the companies and the
prises stored logic to facilitate creation of securities and to          investors including the issuance of the equity securities and
receive data regarding the transactions between the compa                the secondary market trading of the equity securities.
nies and the investors including the issuance of the equity         55      8. A system according to claim 7, wherein the stored capital
securities and the secondary market trading of the equity                management logic comprises traunches logic, the traunches
securities.                                                              logic being configured to facilitate issuance of multiple traun
   3. A system according to claim 2, wherein the capital                 ches of a security, including being configured to facilitate
management logic includes stored project management logic                calculation of a share price for a traunche based on a proposed
configured to create a project plan for a due diligence project     60   valuation and proposed issue amount to facilitate comparison
during the pre-financing interactions, the project plan com              by a user of financing scenarios and an impact of the financing
prising activities performed by individuals on different sides           scenarios on capitalization of a company.
of the pre-financing interactions, the capital management                   9. A system according to claim 8, wherein the traunches
logic being configured to facilitate communication of mes                logic includes stored term sheet generation logic configured
sages between the individuals on the different sides of the         65   to generate a term sheet for the financing, the term sheet being
pre-financing interactions, and the capital management logic             generated reflecting a share price, total shares issued, and a
being configured to dynamically update information regard                structure of the financing.
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   10. A system according to claim 4, wherein the stored                       application comprising stored program logic to con
capital management logic comprises stored options logic and                    figure the data processing system to provide the
options transactions logic, the stored options logic being con                 exchanges with access to at least some of the infor
figured to facilitate the issuance of options in equity securi                 mation in the data storage system.
ties, and the stored options transactions logic being config      5       15. A system according to claim 14, wherein the stored
ured to receive data regarding the transactions between the            company application is configured to permit companies to
companies and the investors involving the options.                     create and issue securities and to maintain capitalization
   11. A system according to claim 10, wherein the stored              tables reflecting the creation and issuance of the securities,
options logic comprises binomial pricing logic, the binomial           and wherein the system is configured to dynamically update
pricing logic being configured to provide a valuation of          10   the capitalization tables to reflect debt conversions and exer
options based on a discrete-time framework analysis.                   cised stock options.
   12. A system according to claim 4, wherein the stored                  16. A system according to claim 15, wherein the stored
capital management logic comprises stored debt logic and               investor application is configured to permit investors to view
stored debt transactions logic, the stored debt logic being            the capitalization tables reflecting the creation and issuance
configured to facilitate the issuance of debt, and the stored
                                                                  15   of the securities, wherein the investor application is config
debt transactions logic being configured to receive data               ured to permit the investors to engage in secondary market
regarding the transactions between the companies and the               trading of the securities.
investors involving the debt.                                             17. A system according to claim 16, wherein the stored
   13. A system according to claim 4, wherein the network is           exchange application is configured to permit investors to
the Internet.                                                          register and accredit the companies and the investors.
   14. A computer-implemented data processing system com                  18. A system according to claim 16, wherein the system is
prising:                                                               further configured to be accessible by secondary stakeholders
   a network interface that connects the data processing sys           including bankers, attorneys and accountants associated with
     tem to computers associated with a plurality of users by          respective ones of the investors and the companies.
     way of a communication network, the plurality of users
                                                                  25      19. A system according to claim 14, wherein the network is
                                                                       the Internet.
      including companies, investors, and exchanges, the net             20. A computer-implemented method comprising:
     work interface receiving financial information relevant             receiving, by one or more processors, registration and
     to the companies, investors, and exchanges, the infor                  accreditation information to register and accredit com
      mation comprising information regarding capitalization      30        panies and investors;
      and financial performance of the companies, the capi               receiving, by the one or more processors, due diligence
     talization including equity securities and debt securities             information including due diligence project plans, due
      issued by the companies and traded in private capital                 diligence activity assignments, and due diligence docu
      markets, the investors having ownership interests in the              ments;
      equity securities and the debt securities, the exchanges    35     receiving, by the one or more processors, financial infor
      operating as brokers that bring together the investors                mation regarding financing of the companies including
     with various ones of the companies and/or other ones of                information regarding the creation of securities of the
     the investors;                                                         companies, the securities including debt and equity
  a data storage system that receives and stores the informa                securities traded in private capital markets, and includ
     tion relevant to the companies, investors, and exchanges;    40        ing information regarding transactions involving the
     and
  a processor and computer-readable media, the computer                     securities, including information regarding debt conver
    readable media having instructions stored therein that                  sions and exercised stock options and information
    when executed by the processor cause the processor to                   regarding primary and secondary market trading of the
    implement stored capital management logic, the stored                   securities;
    capital management logic being configured to track the        45     tracking, by the one or more processors, the capitalization
    capitalization and financial performance of the compa                   and financial performance of the companies, including
    nies, the stored capital management logic including                     dilution analysis to provide assessments of additional
    a company application accessible by way of the com                      issuances of securities, liquidation analytics to provide
       munication network to companies, the company                         assessments of payouts in the event of liquidation of one
       application comprising stored program logic to con         50        of the companies, and comparables analysis to compare
       figure the data processing system to provide the com                 individual companies with other companies reflecting a
       panies with access to at least some of the information               aggregated and anonymized version of the information
       in the data storage system;                                          regarding the transactions involving the securities;
    an investor application accessible by way of a commu                 providing, by the one or more processors, access to the
       nication network to investors, the investor application
                                                                  55        registration and accreditation information, the due dili
       comprising stored program logic to configure the data                gence information, the financial information, and results
       processing system to provide the investors with                      of the financial analysis to the companies, the investors,
        access to at least some of the information in the data              and the exchanges and to secondary stakeholders asso
       storage system; and                                                  ciated with one or more of the companies, the investors,
     an exchange application accessible by way of the com         60        and the exchanges.
       munication network to companies, the exchange                                          k   k   k   k   k
